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                       IN THE UNITED STATES DISTRICT COURT 
                          FOR THE DISTRICT OF MARYLAND
                                  Northern Division

GERARD J. HARRY
and
SALLY L. HARRY

       Plaintiffs

v.	                                         * Civil Court Action No:

WALGREEN COMPANY
and
WALGREENS SPECIALTY
PHARMACY, LLC

       Defendants.



                                 NOTICE OF REMOVAL

       Defendants, Walgreen Co., improperly sued as Walgreen Company, and

Walgreens Specialty Pharmacy, LLC, by and through their undersigned attorneys

hereby give notice of removal of this action from the Circuit Court of Maryland for

Baltimore City pursuant to 28 U.S.C. §§ 1332(a) and 1441 et seq., to the United District

Court for the District of Maryland (Northern Division). As grounds for removal,

Defendants state:

       1.	      Plaintiffs, Gerard and Sally Harry, husband and wife, commenced this 

action on or about May 2, 2011, by filing a Complaint in the Circuit Court for Baltimore

City, Maryland.	      Plaintiffs' Complaint was assigned Case No. 24-C-11-003097
	

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    (hereinafter the "State Court Action"). The Complaint alleges negligence and loss of

    consortium and seeks damages of $1,500,000.00 for each claim.

           2.	      Defendants were served with a copy of the summons and Complaint on

    May 12, 2011.

           3.	      Defendants' first notice of the Complaint was through service of process

    on May 12, 2011.

           4. Original jurisdiction exists in this case pursuant to 28 U.S.C. § 1332(a), in

    that this is a civil action between citizens of different states and the amount in

    controversy exceeds $75,000.00. In these regards, Plaintiffs' Complaint alleges that:

                    a. Plaintiffs are residents of Maryland;

                    b. Walgreen Company is an Illinois corporation with a principal place of
                       business in Illinois;

                    c. Walgreens Specialty Pharmacy, LLC is a Delaware limited liability
                       company with a principal of business in Delaware; and

                    d. Plaintiffs' Complaint seeks damages in excess of $75,000 exclusive of
                       interest or costs.

           5. Further, Defendants allege that Defendant Walgreen Co. is an Illinois

    corporation with its principal place of business in Illinois and Defendant Walgreens

    Specialty Pharmacy, LLC is a Delaware limited liability company and it does not have

    its principal place of business in Maryland. Thus, a proper basis for removal exists.

           6. Defendants' Notice of Removal is properly filed in the United States

    District Court for the District of Maryland, Northern Division because the Circuit Court

    of Maryland for Baltimore City is located in this federal jurisdiction. 28 U.S.C. § 1441(a).



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       7.      Defendants were served with a copy of the summons and Complaint on

May 12, 2011. Accordingly, this Notice is timely filed under 28 U.S.C. § 1446(b).

       8.      On June 10, 2011 Defendants filed via United States mail a copy of the

Notice of Filing of Notice of Removal with the Circuit Court of Maryland for Baltimore

City and serve a copy on Plaintiffs' counsel as required by 28 U.S.C. § 1446(d). A copy

of that Notice is attached hereto as Exhibit 1.

       9.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule 103.5(a), copies of all

process, pleadings, orders and other papers or exhibits filed in the Circuit Court are

attached hereto. The Complaint is attached hereto as Exhibit 2. The summonses are

attached collectively hereto as Exhibit 3. Plaintiffs' First Request for Admissions of Fact

Propounded to Defendant is attached hereto as Exhibit 4. Plaintiffs' Affidavits of

Service are attached hereto collectively as Exhibit 5. Defendants' Answer is attached

hereto as Exhibit 6. As of the filing of this Notice of Removal, no other papers are on

file with the Circuit Court and no other papers have been served upon Defendants.

       10.     The prerequisites for removal under 28 U.S.C. §§ 1441 and 1446 have been

met.

       11.     Defendants reserve the right to amend or supplement this Notice of

Removal.

       12.     In filing this Notice of Removal, Defendants do not waive any defenses or

rights that may be available in this action.

       13.     This Notice is signed pursuant to Rule 11 of the Federal Rules of Civil

Procedure.


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       WHEREFORE, Defendants respectfully request that this Court exercise

jurisdiction over this removed action and enter orders and grant relief as may be

necessary to secure removal and to prevent further proceedings in the Circuit Court of

Maryland for Baltimore City, and seek all other relief to which they may be justly

entitled.

                                              Respectfully submitted,

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                                              Thomas J. Whiteford, Bar No.: 22965
                                              Christopher C. Jeffries, Bar No.: 28587
                                              Whiteford, Taylor St Preston L.L.P.
                                              Seven Saint Paul Street
                                              Baltimore, Maryland 21202-1636
                                              (410) 347-8700
                                              Emails: twhiteford@wtplaw.com
                                                       cjeffries@wtplaw.com
                                              Attorneys for Defendants,
                                               Walgreen Co. and
                                               Walgreens Specialty Pharmacy, LLC




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                             CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 10th day of June, 2011, a copy of the

foregoing Notice of Removal was mailed first class, postage prepaid to:

                            Frederic C. Heyman,
                            Glenn E. Mintzer and
                            Ashley M. LeBow
                            The Law Offices of Peter G. Angelos, P.C.
                            One Charles Center
                            100 N. Charles Street, 22nd Floor
                            Baltimore, Maryland 21201

                            Attorneys for Plaintiffs


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                                                  Christopher C. Jeffries

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